                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

LUCIA BINOTTI, individually and on
behalf of all others similarly situated,       Case No. 1:20-cv-00470

                     Plaintiff.

                     v.                        FINAL JUDGMENT AND DISMISSAL

DUKE UNIVERSITY,

                     Defendant.



       The Court hereby enters final judgment in this action as between Plaintiff Dr. Lucia

Binotti, the Class, and Defendant Duke University (“Duke” together with Dr. Binotti and the

Settlement Class, “Settling Parties”), as defined in Federal Rule of Civil Procedure 58(a).

       The final Settlement Agreement between Dr. Binotti, the Class, and Duke is available

at Docket Number 42, hereinafter “Settlement.” Unless otherwise defined herein, all terms

that are capitalized herein shall have the meanings ascribed to those terms in the Settlement.

       The term “Settlement Class” shall be defined as follows:

       All natural persons employed by Duke University or the University of North
       Carolina, Chapel Hill from October 1, 2001 through February 5, 2018, as a
       faculty member. Excluded from the Class are: members of the boards of
       directors and boards of trustees, boards of governors, senior administrators of
       Duke and UNC, unpaid faculty, and faculty with an academic appointment at
       the School of Medicine; and any and all judges and justices, and chambers’
       staff, assigned to hear or adjudicate any aspect of this litigation.

       Pursuant to this Final Judgment, it is ORDERED and ADJUDGED that:

       1.     All Released Claims of Dr. Binotti and the Settlement Class are hereby

released as against Duke and all other Duke Releasees as defined in the Settlement.




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       2.     The Settling Parties are hereby ordered to comply with the terms of the

Settlement. The terms of the Settlement are hereby adopted as an order of this Court.

       3.     Without affecting the finality of the Court’s judgment in any way, the Court

retains exclusive and continuing jurisdiction over this matter for purposes of resolving any

issues relating to the administration, enforcement, consummation, and interpretation of the

Settlement, including the Settlement Fund.

       4.     The Settling Parties and Notice Administrator are authorized to disburse funds

to the Class, to the cy pres recipient, to Class Counsel, to Dr. Binotti, and to the Notice

Administrator, consistent with the terms of the Settlement Agreement and the Court’s

concurrently-filed order concerning Class Counsel’s request for attorney’s fees and

reimbursement of costs and Dr. Binotti’s service award.

       5.     This action is dismissed with prejudice as against Duke, each side to bear its

own costs and attorneys’ fees.

       6.     This document constitutes a final judgment and separate document for

purposes of Federal Rule of Civil Procedure 58(a).

       7.     As this judgment resolves all claims against all remaining parties, the Clerk is

directed to close the case.


       This the 30th day of August, 2021.




                                              UNITED STATES DISTRICT JUDGE




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